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 6 United States of America

 7                            IN THE UNITED STATES DISTRICT COURT

 8                               EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,                             1:11-CR-00357 AWI
11                                Plaintiff,               STIPULATION REGARDING
                                                           CONTINUANCE; ORDER
12                 v.
13   RENEY BOUASANGOUANE,
14                                Defendant.
15

16                                STIPULATION RE: CONTINUANCE
17          Plaintiff United States of America, by and through its counsel of record, and defendant, by
18 and through his counsel of record, hereby stipulate as follows:

19
            1.     By previous order, this matter was set for sentencing on March 10, 2014, at 10:00
20
     a.m.
21
            2.     By this stipulation, the parties now move to continue the sentencing to April 28,
22

23 2014, at 10:00 a.m.

24 DATED:          March 6, 2014.          Respectfully submitted,

25                                         BENJAMIN B. WAGNER
                                           United States Attorney
26
                                           /s/ Karen A. Escobar___________________
27                                         KAREN A. ESCOBAR
                                           Assistant United States Attorney
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          Case 1:11-cr-00357-AWI-BAM Document 71 Filed 03/06/14 Page 2 of 2


     DATED:      March 6, 2014.   /s/ Carol Moses
 1                                CAROL MOSES
                                  Counsel for Defendant Reney Bousangouane
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 3

 4                                      ORDER
 5
     IT IS SO ORDERED.
 6
     Dated: March 6, 2014
 7
                                       SENIOR DISTRICT JUDGE
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